        Case 4:97-cr-00036 Document 1578 Filed on 11/09/06 in TXSD Page 1 of 1




                                   IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

UNITED STATES OF AMERICA                                                     §
                                                                             §
                                                                             §
v.                                                                           §     CRIMINAL NO. H-97-0036-001
                                                                             §
ALTON R. LEW IS                                                              §

                                                                           ORDER

            The Court has received a request from Defendant to alter the fine payment schedule

imposed in this case due to changes in his family’s economic circumstances. The Motion

is well founded. It is therefore

            ORDERED that, pursuant to 18 U.S.C. § 3572(d)(3) payment of the imposed find

is DEFERRED until Defendant is released from custody of the Bureau of Prisons (“BOP”).

Defendant is not required to pay the find at this time as mandated by the BOP’s

Responsibility Program.

            The Clerk shall enter this Order and provide a copy to all parties, as well as the

Bureau of Prisons, Federal Medical Center, P.O. Box 14500 Lexington, Kentucky 405122,

as well as the U.S. Probation Office, Houston, Texas.

            SIGNED at Houston, Texas, this 9th of November, 2006.




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